     Case: 1:18-cv-01297 Document #: 14 Filed: 05/25/18 Page 1 of 1 PageID #:99

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Chasity Watkins
                                                 Plaintiff,
v.                                                            Case No.: 1:18−cv−01297
                                                              Honorable Thomas M. Durkin
VHS West Suburban Medical Center, Inc., et
al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 25, 2018:


        MINUTE entry before the Honorable Thomas M. Durkin:Plaintiff's motion for
leave to file a third amended complaint [12] is granted. Defendant has 28 days to answer
or otherwise plead. The 6/12/2018 status date is vacated and reset for 7/6/2018 at 09:00
AM.No appearance is required on 5/30/2018. Mailed notice(srn, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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